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Ffl.ED BY ,____ D.C_.
IN THE UNITED sTATEs DIs'rRIcT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEII'JS JUL 26 AH 9= 28
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CYNTHIA EDWARDS FRAZIER,
Plaintiff,
vs. Civ. No. 04-2719-B[P

WASHINGTON MUTUAL,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
July 21, 2005. Present were Cynthia Edwards Frazier, pro se, and
Robert L. Crawford, counsel for defendant. At the conference, the
following dates were established as the final dates for:

INITIAL DIscLosUREs PURSUANT 'I'o Fed.R.civ.P. 26(a) (1):
August 4, 2005

JOINING PARTIES: September 19, 2005
AMENDING PLEADINGS: September 19, 2005
INITIAL MOTIONS TO DISMISS: OCtOber 19, 2005
COMPLETING ALL DISCOVERY: January 18, 2006

(a) DOCUMENT PRODUCTION: NOvember 18, 2005

Th|s document entered on the docket sheet |n comap_lianc¢
with Hu1e 58 and/or 79(3) FF\GP on '

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: January 18, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: November 18, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: DeCember 19, 2005

(4) EXPERT WITNESS DEPOSITIONB: January 18, 2006
FILING DISPOSITIVE MOTIONS: February 17, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a nonjury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately two (2) days.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a \notion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

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At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.
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TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02719 Was distributed by fax, mail, or direct printing on
July 26, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

